Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.133 Page 1 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.134 Page 2 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.135 Page 3 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.136 Page 4 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.137 Page 5 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.138 Page 6 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.139 Page 7 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.140 Page 8 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.141 Page 9 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.142 Page 10 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.143 Page 11 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.144 Page 12 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.145 Page 13 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.146 Page 14 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.147 Page 15 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.148 Page 16 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.149 Page 17 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.150 Page 18 of 19
Case 2:04-cv-00757-DB Document 25 Filed 04/03/06 PageID.151 Page 19 of 19
